                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


GINO MORALES, et al.                         )
                                             )
v.                                           ) NO. 3-15-1187
                                             ) JUDGE CAMPBELL
SAM’S SPORTS BAR AND                         )
GRILL, LLC, et al.                           )


                                             ORDER

       Pending before the Court is a Joint Motion for Approval of Settlement of Claims (Docket

No. 40). The Motion is GRANTED, and the Settlement Agreements are approved. This action is

DISMISSED with prejudice, and the Clerk is directed to close the file.

       This Order shall constitute the final judgment in this case pursuant to Fed. R. Civ. P. 58.

       IT IS SO ORDERED.


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                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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